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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 PENSACOLA DIVISION

JACK H. STEWART,
           Plaintiff,

vs.                                                       3:05cv101/MCR/MD

LARRY CASKEY, et al.
          Defendants.


                                REPORT AND RECOMMENDATION

       This cause is before the court upon referral from the clerk. Plaintiff initiated this
cause through the filing of a civil complaint and motion for leave to proceed in forma
pauperis on March 18, 2005 (doc. 1 & 2). This court granted plaintiff’s motion for leave to
so proceed (doc. 4), but the copy of the order sent to the plaintiff was returned as
undeliverable because plaintiff had been released. Plaintiff has not filed a notice of change
of address with the court, and the court has unsuccessfully attempted to ascertain his
whereabouts using the Department of Corrections Offender Information Network.1
       Accordingly, it is respectfully RECOMMENDED:
       That this case be dismissed without prejudice for plaintiff's failure to comply with an
order of the court and failure to prosecute this action.
       At Pensacola, Florida, this 16th day of May, 2005.



                                                  /s/   Miles Davis
                                                  MILES DAVIS
                                                  UNITED STATES MAGISTRATE JUDGE

       1
           http://www.dc.state.fl.us/appcomm on/searchall.asp.
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                               NOTICE TO THE PARTIES

Any objections to these proposed findings and recommendations must be filed within ten
days after being served a copy thereof. A copy of objections shall be served upon all other
parties. Failure to object may limit the scope of appellate review of factual findings. See
28 U.S.C. § 636; United States v. Roberts, 858 F.2d 698, 701 (11th Cir. 1988).




Case No: 5:02cv391/RH/MD
